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17
                                   UNITED STATES DISTRICT COURT
18
                                NORTHERN DISTRICT OF CALIFORNIA,
19
                                         SAN FRANCISCO DIVISION
20

21 IN RE GOOGLE PLAY STORE                                    Case No. 3:21-md-02981-JD
   ANTITRUST LITIGATION
22 This Document Relates To:                                  DECLARATION OF ANDREW
                                                              ROPE IN SUPPORT OF
23                                                            DEFENDANTS' OPPOSITION TO
   Epic Games Inc. v. Google LLC et al., Case No.
                                                              PLAINTIFFS' MOTION FOR
24 3:20-cv-05671-JD                                           SANCTIONS
   In re Google Play Consumer Antitrust
25 Litigation, Case No. 3:20-cv-05761-JD
                                                              Judge:       Hon. James Donato
26 State of Utah et al. v. Google LLC et al., Case
   No. 3:21-cv-05227-JD
27
   Match Group, LLC et al. v. Google LLC et al.,
28 Case No. 3:22-cv-02746-JD

     DECL. OF ANDREW ROPE I/S/O DEFENDANTS' OPPOSITION TO PLAINTIFFS' MOTION FOR SANCTIONS
        Case Nos. 3 :2 l-md-02981-JD; 3 :20-cv-05671-JD; 3 :20-cv-05761-JD; 3 :2 l-cv-05227-JD; 3 :22-cv-02746-JD
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 1 I, Andrew Rope, declare as follows:
 2          1.       I am a Scaled Operations Manager at Google LLC. I make this declaration on
 3 personal knowledge and in support of Defendants' Opposition to Plaintiffs' Motion for Sanctions,
 4 unless I indicate that I make the statement on information and belief. If called as a witness, I
 5 could and would competently testify to the matters stated herein.
 6                             Google's Chat Products and Retention Policies
 7          2.       Since Epic filed its complaint on August 13, 2020, Google has offered Hangouts
 8 and/or Google Chat to provide for (1) one-on-one chats, as well as group chats among multiple
 9 employees, and (2) so-called "Threaded Rooms I Spaces," which are a variation of a group chat.
10           3.      In the ordinary course of business, all chats other than "Threaded Rooms / Spaces"
11 default to a setting known as "history off." Chats set to "history off' are retained for 24 hours
12 (this is a static Google Chat product behavior that applies to all users and companies equally,
13 rather than a Google-specific policy). Google employees in a chat conversation can change that
14 chat conversation to "history on." Chat messages sent while history is "on" are not automatically
15 removed after 24 hours. Chats sent with "history on" to just one other person are retained for 30
16 days, and chats sent with "history on" in group conversations (including "Threaded Rooms /
17 Spaces") are retained for 18 months.
18          4.       Chats classified as "Threaded Rooms / Spaces" are always set to "history on," and
19 this setting cannot be changed by users.
20           5.      When a Google employee is on a legal hold, Google retains "history on" chats
21 indefinitely, including all chat threads in "Threaded Rooms / Spaces" in which the employee has
22 participated, for as long as the legal matter is pending.
23          6.       Google's Retention Policy 1 states that the following chats "will be preserved
24 automatically (all retention periods are paused) while the relevant matter is pending": "On-the-
25 record 1:ls, Group DMs, and flat space messages you've sent or received" and "Threaded space
26
     1
    References to Google's Retention Policy are to the Google Chat Retention Policy attached as
27
   Exhibit A to Exhibit 1 of the Mason Declaration. (Mason Deel., Ex. 1 at Ex. A ("Retention
28 Policy"), ECF No. 348-3.). That policy was in place from November 2020 to September 2021.
                                                  -1-
     DECL. OF ANDREW ROPE I/S/O DEFENDANTS' OPPOSITION TO PLAINTIFFS' MOTION FOR SANCTIONS
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 1 conversations in which you've participated (i.e., sent a message, not just received)." "On-the-

 2 record" here is synonymous with "history on." The Retention Policy further instructs employees
 3 not to "manually delete any chats relevant to the matter at issue under any circumstances."
 4           7.      Google's Retention Policy "aims to reduce redundant, obsolete, and trivial

 5 information in corporate chats." As that policy states: "By helping us all focus on our most

 6 meaningful and useful messages, we can reduce time spent sifting through irrelevant old messages
 7 and reduce storage costs."
 8                                     Google's Legal Hold Procedures
 9          8.       Google's company-wide practice is to issue written legal hold notices to individuals
10 believed to possess relevant information when litigation is first reasonably anticipated.
11           9.      At a general level, Google's legal holds instruct hold recipients to preserve relevant

12 material, including instructions on chat preservation. Subsequent to issuing a legal hold, Google

13 sends periodic messages to remind hold recipients of their preservation obligations.
14           10.     Consistent with this general practice, Google issued written legal hold notices, and
15 subsequent reminders, in connection with this litigation.

16           11.     Google timely issued its first set of notices in September 2020, shortly after it was
17 served with the first round of complaints. Google subsequently sent reminders, continued to add

18 employees to the hold, and issued updated hold notices to reflect additional parties and legal
19 theories throughout 2020, 2021, and 2022.
20           12.     Specifically, Google sent updated hold notices in March 2021, January 2022, and

21 May 2022, all of which included instructions on chat preservation. Google also sent reminders to

22 particular custodians on November 30, 2020, June 29, 2021, July 23, 2021, and July 26, 2021,
23 which also included instructions on chat preservation.
24           13.     All told, Google has issued 3 updates to the original hold notice and 4 reminders
25 between September 2020 and the present.

26           14.     Google also took technical steps to suspend standard retention policies as to email,

27 chat, and other documents. This included overriding time-driven retention rules for email and
28 "history on" chats to indefinite retention.
                                                        -2-
     DECL. OF ANDREW ROPE I/S/O DEFENDANTS' OPPOSITION TO PLAINTIFFS' MOTION FOR SANCTIONS
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 1           15.     Google also employed custodial interviews with individuals likely to have
 2 discoverable information to identify data sources Google may need to preserve. Where necessary,
 3 Google collected personal devices to collect relevant information that may have been stored on the
 4 device.
 5                                  Google's Production In this Litigation
 6           16.     Google collected over 176,000 chat conversations from the agreed custodians and
 7 non-custodial group chats. Google subsequently applied search terms to the 176,000 chat
 8 conversations, reviewed the results for responsiveness, and ultimately produced 3,084 chats
 9 conversations.
10           17.     In all, Google has produced over 3.1 million documents, totaling over 21 million
11 pages, in this litigation.
12
13           I declare under penalty of perjury under the laws of the United States of America that the
14 foregoing is true and correct.
15
16 Dated: November 3, 2022 Aptos, CA
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18
19                                                                     Andrew Rope
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